      Case 1:06-cr-00365-LJO-BAM Document 55 Filed 05/15/09 Page 1 of 2


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 5   Attorney for Defendant, ABDEL BASET JAWAD
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 7
 8          UNITED STATES DISTRICT COURT, EASTERN DISTRICT OF CALIFORNIA
 9                                         FRESNO DIVISION
10
11   UNITED STATES OF AMERICA,                     )       CASE NUMBER: 1:06-CR-00365-LJO
                                                   )
12                         Plaintiff,              )
                                                   )
13   v.                                            )       APPLICATION AND ORDER FOR
                                                   )       RELEASE OF PASSPORT
14   ABDEL BASET JAWAD,                            )
                                                   )
15                                                 )
                           Defendant.              )
16                                                 )
17          COMES NOW, defendant ABDEL BASET JAWAD by and through his Attorney Salvatore
18   Sciandra and hereby notifies this Court that he has provided the documents listed below to the
19   satisfaction of the government by and through their Attorney Stanley Boone Assistant United States
20   Attorney that defendant ABDEL BASET JAWAD has complied with the Order For Travel issued by
21   this Court on March 31, 2009 and applies for an Order releasing defendant ABDEL BASET
22   JAWAD’s. United States passport filed with the Clerk of this Court on December 28, 2008.
23          The attached documents are as follows:
24          1. Declaration of Hakam Takash, Counsel PLO;
25          2. Declaration of Abdel Baset Jawad regarding potential conflict;
26          3. Amended Straight Note regarding Abdul Muniem Mohamad Jawad;
27          4. Amended Straight Note regarding Najeh Kamal Jawad;
28   ///
      Case 1:06-cr-00365-LJO-BAM Document 55 Filed 05/15/09 Page 2 of 2


 1            5. Power of attorney given to Sharif Ali by Abdul K. Jawad; and
 2            6. Power of attorney given to Sharif Ali by Shorook R. Jawad.
 3
 4
 5   DATED: May 15, 2009                                          /s/ Salvatore Sciandra
                                                                  SALVATORE SCIANDRA
 6                                                                Attorney for Defendant
                                                                  ABDEL BASET JAWAD
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 9
10                                                 ORDER
11            GOOD CAUSE APPEARING, and now that the Assistant U.S. Attorney has approved of the
12   wording and substance of the order before it was submitted to the Court, the Clerk of the Court for the
13   Eastern District of California, Fresno Division is hereby directed to release forthwith to defendant
14   Abdel Baset Jawad his United States passport that he had filed with the Clerk of this Court on
15   December 24, 2008.
16
17
18   IT IS SO ORDERED.
19   Dated:      May 15, 2009                         /s/ Lawrence J. O'Neill
     b9ed48                                       UNITED STATES DISTRICT JUDGE
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